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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF OREGON

                                Eugene Division


ELIZABETH HUNTER, et al.,
                                            No. 6:21-CV-00474-AA
               Plaintiffs,
               v.
U.S. DEPARTMENT OF EDUCATION,               EXPERT DECLARATION OF DR.
et al.,                                     MARK REGNERUS

               Defendants,
               v.
COUNCIL FOR CHRISTIAN
COLLEGES & UNIVERSITIES,
WESTERN BAPTIST COLLEGE d/b/a
CORBAN UNIVERSITY, WILLIAM
JESSUP UNIVERSITY AND
PHOENIX SEMINARY,
    Defendants-Intervenors.



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           I, Mark Regnerus, am an adult of sound mind and make this statement

     voluntarily, based upon my own personal knowledge, education, and experience.

I.      CREDENTIALS & SUMMARY OF OPINIONS

           1.     I am a professor of sociology at the University of Texas at Austin. I

     received my Ph.D. from the University of North Carolina at Chapel Hill in 2000. I

     became an assistant professor of sociology and director of the Calvin College Center

     for Social Research in 2001, then became an assistant professor of sociology at UT-

     Austin in 2002, an associate professor in 2007, and a full professor in 2018.

           2.     I have published numerous articles and four books on sexual-

     relationship behavior and decision-making since 2003.1 The books, peer-reviewed

     journal articles, and essays I have written include material on sexual orientation and,

     more recently, attitudes about (and results of) transgender medicine.           I am an

     experienced peer reviewer, having reviewed dozens of manuscripts in the past decade

     on these and related topics—including for top journals in both sociology and

     sex/sexuality studies (e.g., Archives of Sexual Behavior, Journal of Homosexuality,

     etc.). I have extensive survey administration experience as well, having fielded three

     nationally-representative surveys since 2011, and consulted on survey construction

     for several others, including the National Study of Family Growth and the National

     Longitudinal Study of Adolescent to Adult Health (or Add Health). A more complete


           1 Regnerus, M. D. (2007). Forbidden fruit: Sex & religion in the lives of
     American teenagers. Oxford University Press.; Regnerus, M. & Uecker, J. (2011).
     Premarital sex in America: How young Americans meet, mate, and think about
     marrying. Oxford University Press.; Regnerus, M. (2017). Cheap sex: The
     transformation of men, marriage, and monogamy Oxford University Press.;
     Regnerus, M. (2020). The future of Christian marriage. Oxford University Press.


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review of my professional experience, publications, and research is provided in my

curriculum vitae, a copy of which is attached hereto as Exhibit A.

      3.     My experience in the area of sexuality research primarily concerns basic

methodological matters, involving design, measurement, statistical inference,

interpretation of data, and reflections on the research and publication norms that

have developed in this new domain in conjunction with media interest and

professional and organizational pressures. This leans not only on my knowledge of

the research in this domain, but also on the details of quantitative and qualitative

research, subjects I have taught to sociology majors at least 20 times since my

appointment on the faculty at the University of Texas.

      4.     I have been retained as an expert witness by Schaerr|Jaffe LLP, in

connection with this litigation. I have actual knowledge of the matters stated in this

report. I base the following opinions on my own knowledge, research, experience, and

publications, and the work of other academics and writers. The materials I have used

to research and write this report are the standard sources used by other experts in

my field. I am receiving $250 per hour for my time spent preparing this report. My

compensation is not dependent upon the outcome of this litigation or the substance

of my opinions.

      5.     I have reviewed the newly submitted expert witness reports by Drs.

Jonathan Coley, Ilan Meyer, and Joshua Wolff, (all dated October 29, 2021). I have

also reviewed the declaration of Shirley Hoogstra, submitted to this Court on October




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15, 2021. My remarks below attend to their declarations, as well as offer observations

from other studies and legal documents related to this case.

      6.     I have no interest in suggesting that the lives of LGBT young adults,

including but hardly limited to those attending CCCU-type colleges and universities,

are simple ones. There is a developing epidemic of anxiety and depression among

young people in general. The REAP survey, about which I have more to say below,

revealed that just about half of all students at the surveyed Christian colleges and

universities experience loneliness, isolation, and anxiety, while 36 percent report

bouts of depression. While LGBT youth appear to experience these even more

poignantly, it should be obvious already that many students in these (and other)

universities are struggling.

      7.     Moreover, I would never dream of endorsing the maltreatment that

some LGBT youth have experienced. Just how common and severe such treatment is

today is, perhaps, at question. Instead, Christian college administrators, faculty

members, and students owe to each other—brothers and sisters all—virtuous acts of

friendship, kindness, encouragement, and occasional challenge. This is life together

on campus—something I too experienced as an undergraduate at a CCCU member

school, and briefly as a faculty member before moving on to a research university. I

made more meaningful friendships in one year on the faculty at Calvin College (now

Calvin University) than I have in over 19 years at a large, secular, state university.

      8.     But to suggest that somehow life for LGBT students at CCCU-type

colleges and universities is inordinately more challenging is to assert something for




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which there is no sustained evidence. In fact, even the REAP study reveals a better

portrait than the average college and university. Students at CCCU-type colleges and

universities report less alcohol use, less physical and sexual assault and sexual

harassment (1-3%), as well as more modest alcohol use (12%) and drug use (5%) when

compared with data collected from other samples of LGBT young people during the

COVID era.

      9.     What follows below is hardly a dismissal of the challenges LGBT

students face. Instead, what appears herein is a straightforward assessment of the

arguments and claims made in the complaint, the REAP report, and by the Plaintiffs’

expert witnesses. I maintain that, in spite of the assertions they make, there is no

empirical basis for the push to force CCCU-type Christian colleges and universities

to alter their longstanding policies around sexual relationship standards and

behaviors or face possible loss of federal funding—most typically in the form of

student access to Stafford loans and Pell grants. To hold such colleges and

universities hostage in this manner would harm the Plaintiffs’ fellow students, and

in so doing—if successful—radically limit the diversity of higher educational options

in the United States. CCCU-type colleges and universities exist today because

students generally value the educational mission offered by the schools, usually pay

a premium for it, and want to be taught by their faculty.

II.   COMPARATIVE DATA ANALYSIS OF THE REAP AND OTHER
      STUDIES

      10.    The Religious Exemption Accountability Project’s (REAP) survey merits

discussion. It was a survey whose aim is to assess the psychological challenges of



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students in Christian colleges, etc. Unfortunately, fielding a survey aimed at

understanding the sources of psychological distress in early 2021—and then

insinuating blame aimed at the institutions themselves—are invariably confounded

with the pronounced, historically unprecedented experience of COVID-era

shutdowns, universities going virtual, etc. For comparison, I have stalled an in-

person interview-based study of fertility decision-making for nearly two years (so far)

precisely because of possible COVID-era confounding. That is, I wouldn’t be able to

discern the unique effects of COVID-related concerns (vis-à-vis other effects on

fertility decision-making) until some degree of normalcy returns and fertility rates

stabilize. That the REAP organization pressed forward with a survey during the

heart of the COVID-era’s university alterations and virtual courses—and fails to

mention the pandemic anywhere in the report on the survey—suggests imprudence

as well as political rather than scientific motivation. It’s not simply unprofessional to

fail to discuss this. It’s deceptive.

       11.    In general, the REAP sample is a massive opt-in list whose

generalizability is unclear, even after weighting (on unclear variables). Given that

this is essentially a massive convenience sample, it makes no sense to call the figures

therein “estimates,” since estimates imply—as Dr. Meyer points out on page 7 of his

report—a population parameter to which the estimate is referring (and confidence

intervals, etc.), and practically presumes a population-based sample. But an opt-in

sample like the one the REAP survey is based upon is by definition not a population-

based sample. Weighting can aid but not solve this challenge.




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        12.   The most significant limitation of the survey, however, is understanding

to what the numbers ought to be compared. The report’s authors simply compare

LGBT student responses to those of non-LGBT students. There is no comparison

group of, say, LGBT secular-university students. Alternately, there was no

comparison between the responses of LGBT students at CCCU colleges and those

from other non-CCCU schools. All the reader is left to do is to wonder about the

meaning of the figures therein and wonder if the differences (between LGBT and

heterosexual students) reported therein are larger or smaller or comparable to the

differences that would be visible at secular universities or non-CCCU schools, or

among LGBT and heterosexual young adults who are not attending college. This was

an easy comparison to arrange, and the designers elected not to do it. I can only

wonder if it was intentional.

        13.   We can, however, consider some of the numbers and wonder how they

might compare to students from other universities in the College Pulse’s American

College Student Panel.

        14.   The REAP report notes on page 2 that “[m]ost sexual and gender

minority students are closeted,” but then remarks that 19% of sexual minority

students “report telling no one about their sexual or gender identity,” while 56% “have

only told five or fewer people.” If only 19% have told no one, how does one conclude

that most are closeted? (And how exactly do the authors define the term? They don’t

say.)




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      15.    Moreover, only five percent of respondents to the REAP report stated

that they had ever faced disciplinary action from their college or university (Question

11 of toplines, page 31). Among that small minority (of five percent), 12 percent

reported the “sexual code of conduct” as the reason for such action. This means that

a mere six-tenths of one percent of all REAP survey respondents, or six in every 1,000

students, reported a sexual code of conduct violation that merited disciplinary action.

Since the text states that the survey was administered to “3,000 full-time students

currently enrolled in four-year degree programs at taxpayer-funded Christian

colleges and universities that explicitly discriminate against LGBTQ+ students,” this

means that just 18 of the 3000 respondents to the sample were disciplined for this

reason. For context, the REAP survey administrators point out that 10% of

respondents (or around 300 students) self-identified as a sexual minority, 12% (or 360

students) as non-heterosexual, and “approximately 30%” (or 900 students) if applying

a “broader definition that encompasses self-identification and any attraction or

experience that is not between a heterosexual female and a heterosexual male.”

Hence, the number of sexual minorities on campus (10%)—the most conservative

number offered—is 17 times as large as the number of students who reported

disciplinary action for violating the sexual code of conduct, the very same code that

is purported to cause so much anxiety, fear, and purported “condemnation from their

campus community.” Given these numbers, it is implausible to suggest a causal link

between these codes and the students’ anxiety.




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      16.    It is also implausible to suggest based on the data that these codes are

administered in a discriminatory, unfair manner. Section V of the REAP report

concerns “University Sanctions,” which as just noted is a rare occurrence. The report

hints at distinctions in sanctions between straight students and sexual and gender

minority ones. But given that only 18 out of 3,000 students reported sanctions related

to the sexual code of conduct, there are certainly no statistically significant

distinctions in how students are treated. This stands in stark contrast to some of the

claims made by the Plaintiffs in the Amended Complaint. Moreover, reports of

“suggested” sexual orientation or gender identity change efforts are virtually

nonexistent, which contrasts with the personal narratives of numerous Plaintiffs. The

REAP report speculates that such low numbers are due to the low level of self-

revelation, but there is little survey evidence to support this claim (as noted above).

      17.    The REAP survey report is best compared with survey data on mental

health collected elsewhere from LGBTQ+ students enrolled in other universities

during the COVID era. A survey by Vanderbilt University researchers of 477 LGBT

college students ages 18-25 recruited to participate between late April to early June

2020 offers one such comparison. In it, 61% reported frequent mental distress (i.e.,

14 or more days per month of “not good” mental health), 65% reported anxiety (i.e.,

generalized anxiety disorder), and 60% reported major depression (based on the

Patient Health Questionnaire 2-item screener).2 By comparison, 60% of the REAP



      2 Gilbert Gonzales, Emilio Loret de Mola, Kyle A. Gavulic, Tara McKay,
Christopher Purcell, “Mental Health Needs Among Lesbian, Gay, Bisexual, and
Transgender College Students During the COVID-19 Pandemic,” Journal of


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survey sexual minority respondents reported ever having experienced depression,

64% reported experience of loneliness, and 73% of anxiety, but each of these REAP

variables was measured only as a positive (yes/no) response to the question, “During

your time at [school name], have you experienced any of the following?” Suffice it to

say, comparing an “ever felt” measure with clinical markers is simply not the same.

      18.       This Vanderbilt survey of 477 was recruited in part by contacting

“LGBT-serving organizations on 254 college campuses.” That means the sample

comprises a more ideal comparison to the REAP sample, since there would be far

fewer “LGBT-serving” organizations on campuses represented by the REAP survey

participants.

      19.       Another survey—a purported “national” (but nonprobability) survey—

fielded during the COVID-19 era (May-August 2020) by University of Maryland

public health researchers to LGBTQ+ undergraduate and graduate students (N=565)

reported that 65% “met the clinical criteria for moderate or severe psychological

distress.”3 Forty percent “often” felt very isolated from others. Compared to before the

pandemic, 44% of respondents said they “hid their LGBTQ+ identity from other

people more often.” When compared with the more blunt measurements in the REAP

study, fielded during the same public health crisis, it suggests that the LGBT




Adolescent           Health           67          (2020),          5:          645-648.
https://doi.org/10.1016/j.jadohealth.2020.08.006.
       3 Salerno, J.P., Pease, M., Devadas, J., Nketia, B, & Fish, J.N. (2020). COVID-

19-Related Stress Among LGBTQ+ University Students: Results of a U.S. National
Survey.      University      of     Maryland      Prevention      Research      Center.
https://doi.org/10.13016/zug9-xtmi


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respondents to the REAP study fared better than those interviewed in this pair of

pandemic surveys focused on LGBTQ+ students outside of CCCU-type schools.

      20.    Another study—a longitudinal cohort study of sexual and gender

minority persons (not necessarily students) evaluated by UC-San Francisco and

Stanford University researchers—added a COVID-19 data collection point in late

March (to late April) 2020, examining the change in symptoms for those respondents

with and without depression and generalized anxiety disorder at the time of first

interview (June 2019).4 The follow-up with 2,288 respondents revealed statistically

significant leaps in depression and anxiety symptoms since the 2019 survey, but only

among those who did not display preexisting clinical depression or anxiety conditions.

This suggests that the REAP survey—fielded once and during the pandemic—may be

displaying inflated “baseline” numbers for LGBTQ student mental health self-

reports, a function of the timing of the survey and differential sensitivity to pandemic-

induced challenges.

      21.    Yet another report issued by Rutgers University, discussed at some

length in Dr. Hoogstra’s declaration, investigated the responses of “queer-spectrum”

and “trans-spectrum” students across several pooled survey efforts, most of which

were collected in 2016 and 2017, nearing five years old, on average—compared with

the COVID-era surveys explored above. In the Rutgers study, the authors note that




      4 Flentje, A., Obedin-Maliver, J., Lubensky, M. E., Dastur, Z., Neilands, T., &
Lunn, M. R. (2020). Depression and Anxiety Changes Among Sexual and Gender
Minority People Coinciding with Onset of COVID-19 Pandemic. Journal of general
internal medicine, 35(9), 2788–2790. https://doi.org/10.1007/s11606-020-05970-4


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57% of queer-spectrum students did not agree that their university “is a safe and

secure campus,” up from 43% of heterosexual students who also disagreed with the

statement.5 Here again, this Rutgers study suggests that, with respect to their

perceptions of safety, LGBT youth at CCCU-type colleges are doing better than their

peers at secular campuses.

       22.      Regardless of the timing, the addition of other COVID-era survey

comparisons—ones collected well afield of the Christian college or university about

which this case turns—reveals tall challenges for LGBT young adults even within

secular and affirming subcultures. This includes those young adults who not only

have access to but are known by LGBT-serving campus organizations.6 In other

words, the presumption that “affirmation” alone leads to categorically better mental

health outcomes for young adult LGBT students lacks sustained evidence. None of

the student data collection efforts discussed above displays consistently better

outcomes than what the REAP study learned when it surveyed LGBT students at

CCCU-type colleges and universities.

       23.      On the contrary, while anxiety and depression levels appear comparable

between REAP and the other COVID-era survey reports, the overall rates of

substance use, eating disorders, sexual assault, sexual harassment, and physical



   5 Greathouse, M., BrckaLorenz, A., Hoban, M., Huesman, R., Rankin, S., &
Stolzenberg, E. B. (2018, August). Queer-spectrum and trans-spectrum student
experiences in American higher education: The analyses of national survey findings.
Rutgers      University,      Tyler     Clementi       Center.  Retrieved     from
https://rucore.libraries.rutgers.edu/rutgers-lib/60802/

       6   Gonzales et al., 2020.


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assault reported by LGBT students in the REAP survey are notably better than those

reported among LGBT adolescents in the United States—the feeder population for

colleges and universities. The CDC’s National Youth Risk Behavior Survey (2015-17)

reports that 24% of gay adolescents attested to having experienced sexual violence,

17% reported forced sexual intercourse, and 28% said they’d been bullied at school;

64% had experience with alcohol, and 44% had used marijuana.7 In the REAP survey,

on the other hand, a comparatively small 25% of sexual minority students (of

unstated sex) reported alcohol use, 11% said they’d been bullied, 5% said they’d

experienced sexual assault, and 1% reported being physically assaulted. Whereas

20% of sexual minority students reported “suicidal thoughts” in the REAP survey,

fully 28% of the CDC study’s gay adolescents and 46% of the study’s lesbian

adolescents had considered attempting suicide.

      24.   It is not difficult to conclude here that surveying students on mental

health matters—especially but not only LGBTQ students—during the COVID era is

suboptimal for discerning baseline or “normal” emotional health status. Students who

return home from their university studies for extended stays—as occurred in Spring

2020—exhibit different mental health challenges. And yet it is a short leap to

conclude that LGBTQ students who returned home were apt to face taller difficulties,

on average, than heterosexual students. Hence to make conclusions about

comparative mental health between sexual/gender minority students and non-



      7 Michelle M. Johns et al., Violence Victimization, Substance Use, and Suicide
Risk Among Sexual Minority High School Students — United States, 2015–2017,
https://www.cdc.gov/mmwr/volumes/67/wr/mm6743a4.htm?s_cid=mm6743a4_e)


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minority students from the REAP survey, and then draw conclusions on the effects of

CCCU-type schooling, culture, and relationship rules on the mental health of

minority students is a poor scientific decision. The survey ought to have been fielded

before the COVID crisis, or well after the respondents returned to their campuses

(even if some courses remained online). Surveying while respondents were living at

home, with all the random and nonrandom challenges that experience presents, is

imprudent. Interpreting those data without regard to these dynamics is scientifically

reckless.

       25.   In sum, while the Plaintiff’s complaint and the expert witness reports

go to considerable length to imply that the Plaintiffs are in danger—from others and

from themselves—if their colleges and universities do not take concrete steps to

“affirm” their lifestyle choices or otherwise to make them feel accepted—by creating

what expert witness Joshua Wolff identified as “Gender/Sexuality Alliances (GSAs),

or by altering their sexual behavior and relationship policies to treat gay and straight

relationships alike—the evidence does not show that such steps would make LGBT

students at Christian colleges any better off than those attending other institutions.

While it is obvious that the Plaintiffs would prefer these steps, it is a leap to suggest

that “affirmed” life outside the CCCU context and their campuses is categorically

healthier for sexual minorities.

III.   THE THEOLOGICAL BASIS FOR CODES OF SEXUAL CONDUCT IN
       AND THE CHALLENGES OF AFFINITY GROUPS FOR CCCU-TYPE
       SCHOOLS

       26.   GSAs are not necessary to create safety for LGBTQ+ students, since

their security has already been demonstrated to be equal or superior at CCCU-type


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schools, when compared to other public university venues. Respecting the dignity of

all students, insisting upon the virtuous treatment of other students, etc., is a general

means of protecting the safety and inherent human rights of all students, regardless

of their sexual-identity status.

      27.    Furthermore, the creation of GSAs or an equivalent affinity group on

CCCU-type campuses may be considered an undue burden on the freedom of these

organizations to practice their religion and pursue the mission of the school. How so?

      28.    Historically, the forms of Christianity practiced among supporters of the

universities and colleges in question here represents a “worldview,” wherein

revelation has been understood to have been given by God both about his own divine

nature but also about human nature. Such revelation is understood to come from the

Bible, but also discernible through the order of creation itself. The creation of male

and female, made in God’s image as described in Genesis 1:27, is definitive Christian

theology-based anthropology, which cannot be re-made or re-defined any more than

the eternal attributes of God himself. Christian theology-based anthropology also

understands humans as a unity of body and soul. The body is not inconsequential nor

able to be re-defined at will; believers tend to understand the body as a “temple” that

is indwelt by the Holy Spirit (that is, the third member of the Trinitarian God). It is

in this Biblical context that many of the sexual boundaries are described in the New

Testament, including the limitation of sexual relations between a man and woman

bound by life-long marriage commitments. (1 Cor. 6-7).




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      29.    In traditional Christian thought, moreover, sexuality is commonly

understood as a good gift, but one that is particularly sensitive to the boundaries

placed around it, for such is believed to be given by an all-knowing and all-good and

loving Creator. Same-sex relations are forbidden alike in the Old and New

Testaments, as well as consistently throughout two millennia of Christian teaching.

In Christian thought, there is no greater dignity that can be given to the human

person than that of being made in the image of God, and the body being the very

temple of God.

      30.    To the extent LGBTQ+ students experience stress as a result of

sexuality-related policies at CCCU-type schools, such stress flows in no small part

from disagreement with traditional Christian theology on sexuality, and/or behaviors

inconsistent with that theology. Consider recent research demonstrating that actions

involving “moral incongruence, defined as “the experience of violating one’s deeply

held moral values,” can lead to stress and unhappiness.8 For instance, studies have

shown that men who use pornography but believe that porn use is morally

unacceptable are apt to exhibit “depressive symptoms at low frequencies, likely

stemming from cognitive stress or dissonance.”9 A similar study showed that men

engaging in same-sex sexual behavior, as well as women engaging in nonmarital sex,




      8 Perry, S. L., Grubbs, J. B., & McElroy, E. E. (2021). Sex and Its Discontents:
How Moral Incongruence Connects Same-Sex and Non-Marital Sexual Activity with
Unhappiness. Archives of Sexual Behavior, 50(2), 683-694.
      9 Perry, S. L. (2018). Pornography Use and Depressive Symptoms: Examining

the Role of Moral Incongruence. Society and Mental Health, 8(3), 195-
213. https://doi.org/10.1177/2156869317728373


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while holding convictions that such is “always wrong,” were more likely to report

unhappiness. Thus, the study concluded: “Sexual behavior per se is not associated

with unhappiness, but moral inconsistency or conflict regarding one’s sexual behavior

is.”10

         31.   LGBTQ+ advocacy groups (like GSAs) on CCCU-type campuses are

thought to propose a new, alternative anthropology, one which is irreconcilable with

and thus competes with basic tenets of the Christian faith. Rather than human

identity being defined by the sexed embodiedness of male and female, human identity

now is defined by sexual identity labels or sexual interests. These labels and interests

continue to expand in our current culture, and Christianity consistently finds itself

“counter-cultural” and must decline the re-definition of human identity upon any

sexual basis other than male and female. To accommodate in such a significant

matter, is to cease to practice the historic Christian faith.

         32.   The Christian church must be free to respond to these cultural shifts, as

one scholar writes: “There is, as always, a culture-wide experience of brokenness:

broken marriages, broken families, and broken bodies. And this brokenness must

be met. But in order to meet it we must first be able to know it as broken. Then too

we must know that there is a new level to the brokenness. There is . . . a new

substitute anthropology which promotes this brokenness, even produces it. Any




       Perry, S. L., Grubbs, J. B., & McElroy, E. E. (2021). Sex and Its Discontents:
         10

How Moral Incongruence Connects Same-Sex and Non-Marital Sexual Activity with
Unhappiness. Archives of Sexual Behavior, 50(2), 683-694.


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accompaniment of and pastoral care for the broken world we live in therefore would

require an intelligent love.”11

      33.    There are many who disagree with Christian sexual ethics and vision as

articulated above, but Christians believe that only this theology-based vision leads to

ultimate human flourishing. Authentic religious freedom requires allowing

Christians to articulate this vision of human sexuality and theology-based

anthropology freely and unhindered.

      34.    Many Christian colleges form and support various kinds of LGBTQ+

“affinity groups,” which provide a gathering place for LGBTQ+ students to support

each other in their quest to live out the Christian vision in light of their common

circumstances.    Most such colleges, however, do not support LGBTQ+ advocacy

groups (like GSAs) because they generally undermine the overall goals of the

religious school setting.

      35.    Consider that recent research on Gay-Straight Alliances (GSAs) in

schools acknowledges that the presence of GSAs affect school climates, defined as “the

essence of school life”12 that “reflects norms, goals, values, interpersonal

relationships, teaching, learning and leadership practices, and organizational




      11  McCarthy, Margaret H. (2016). Gender Ideology and the Humanum.
Communio: Body and Gender, Summer, 274-298. The quote is from p. 296.
       12 Porta, C. M., Singer, E., Mehus, C. J., Gower, A. L., Saewyc, E., Fredkove,

W., & Eisenberg, M. E. (2017). LGBTQ youth's views on gay-straight alliances:
building community, providing gateways, and representing safety and
support. Journal of School Health, 87(7), 489-497. The quote is from p. 490.


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structures.” 13 Thus, the “norms” and “values” in such groups run counter to the

Christian schools’ missions of forming their students with a Christian worldview and

in their faith. Note that research finds that affinity groups like GSAs influence “not

only LGBTQ youth, but all youth in school settings.”14 Research lists some of the

benefits of GSAs to include “queer” social events (e.g. “queer prom”) and “advocacy.”15

The kind of advocacy as described is a direct challenge to and undermining of the

basic Christian beliefs as described above, as some have described the functions of

affinity groups as creating “activist movements” for social change—change that runs

counter to Christian theology.16

      36.    Many of the functions that the “affinity” groups seek to achieve are noble

and should be expressly pursued by Christian campuses for LGBTQ+ identified

members as well as all other students, and that is the creation of community where

students can be open and honest and share “emotional connection and social

support.”17 In a common Christian understanding, the Body of Christ and the

fellowship of believers should be a source of this ultimate support. CCCU-type



      13  Ibid, quoting: National School Climate Center. [Accessed August 5, 2016]
School climate. 2016. Available at: http://www.schoolclimate.org/climate/; Tableman
B, Herron A. School climate and learning. Best Practice Briefs. Dec.2004 31:1–10.
[Accessed           September          27th,       2016]          Available        at:
http://outreach.msu.edu/bpbriefs/issues/brief31.pdf.
       14 Porta et al. (2017), p. 491.
       15 Ibid, p. 491.
       16 Deming, E., Soule, K., Poulsen, N., & Walker, T. (2014). Gay–straight

alliances impact on school climate and lesbian, gay, bisexual, or transgender student
well-being. Vistas Online (ACA Knowledge Center), Article, 45, 1-9, p. 2; Russell, S.
T., Muraco, A., Subramaniam, A., & Laub, C. (2009). Youth empowerment and high
school gay-straight alliances. Journal of youth and adolescence, 38(7), 891-903.
       17 Porta et al. (2017), p. 494.



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colleges and universities can and should commit themselves to strive even harder

toward this goal for all of their students to form one body and one supportive

community, in pursuit of the goal of Christian discipleship and living, no matter their

sexual identities or struggles. And those CCCU-type colleges that form such groups

generally do so in pursuit of that goal.

      37.    Mark Yarhouse, a professor and psychologist who studies persons who

live as “celibate gay Christians” as well as same-sex attracted Christians who pursue

relationships with the opposite sex, is unflinching in his treatment of a complex

subject matter. In a recent nonrepresentative survey he posed several questions to

300 “celibate gay Christians” for the purpose of measuring psychological distress and

well-being, Yarhouse noted the diversity in approach among this group. Sixty-six

participants remained single and sought to refrain from sexual activity entirely,

while another 66 were in what they identified as “mixed orientation marriages,” that

is between a person with a homosexual or bisexual orientation (gay or bi) and a

heterosexual orientation (straight). Just over half (168) said they were abstaining

from same-sex sexual behavior but open to a relationship with the opposite sex.18

      38.    More to the point, Yarhouse describes this sample as “healthier than

might be expected,” given the challenges they face. On the Depression, Anxiety, and

Stress Scale (DASS-21), 80% of this group were in the normal range for depression,



      18 Yarhouse, M., Zaporozhets, O. (2021, July 15). The mental health and well-
being of celibate gay Christians, https://www.livingout.org/resources/articles/96/the-
mental-health-and-well-being-of-celibate-gay-christians#footnotelist_0_3; Yarhouse,
M., Zaporozhets, O. (2019). Costly Obedience: What we can learn from the celibate
gay Christian community. Zondervan.


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with 12% mild, 8% moderate, and 1% experiencing severe depressive symptoms.

Higher numbers were assessed in the normal range for anxiety and stress (93% and

94%, respectively). In terms of personal well-being, 63% reported life satisfaction as

high (27% as medium and 10% as low). Across the board, more of the respondents in

mixed-orientation marriages were apt to score in normal ranges when compared with

the other pair of groups.19

       39.    A unique summary of research on “mixed orientation marriages” (in this

case gay men married to straight women) was published a decade ago, and concluded

that “[m]ixed-orientation marriages are fraught with complexity.”20 To be sure. The

authors go on to detail challenges (e.g., “tension between societal expectations, love

for spouse, and same-sex attraction”), but also rewards: “Friendship and love between

spouses, along with shared children, led to family life and community integration.

These were reported to deter couples from separating and to enhance their general

life satisfaction.” Bisexual individuals in such unions “reported the greatest difficulty

feeling understood by society, but the greatest likelihood of having a satisfying sexual

relationship within an enduring marriage.” On the other hand, high ratings on scales

of pure homosexuality (rather than bisexuality) were correlated with high incidence

of divorce.




       19Ibid.
       20Hernandez, B. C., Schwenke, N. J., and Wilson, C. M. “Spouses in mixed-
orientation marriage: A 20-year review of empirical studies,” Journal of Marital and
Family Therapy 37 (2011): 307-318.


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      40.    My point in discussing Yarhouse is not to establish some sort of baseline

expectation of emotional well-being among gay Christians attempting to exhibit

chaste lifestyles of one sort or another. Rather, it is to demonstrate that this is a real

community whose commitment to particular visions of sexual expression are

animated by their Christian faith in ways that are often consonant with the visions

expressed by CCCU-type colleges and universities, as these apply to their students.

No one is claiming this is simple. No one is claiming that other Christian traditions

apart from those represented in the CCCU do not have different visions for what it

means to be a gay Christian; plenty do. Rather, it is simply to observe the empirical

existence of communities of Christians who value the same vision for sexuality and

relationships that is valued by the CCCU (albeit implemented in their distinctive

ways). Moreover, it is also to observe that average emotional well-being among this

population, measured in various ways, is not poor, but appears above-average,

especially when contrasted with some of the estimates discussed earlier. As this

sample suggests, sexuality is not emotional destiny.

IV.   DR. ILAN MEYER’S REPORT

      41.    Although most of my remarks about Dr. Ilan Meyer’s expert witness

report pertain to his work on minority-stress theory, a few words about “conversion

therapy” (or SOCE) are in order, in part because they reflect live scholarly debates

(but dead political ones) about the etiology and nature of sexuality.

      42.    In his extensive report, Dr. Meyer refers to “conversion therapy”

techniques on page 17, citing “electric shock” as a form of “physical punishment . . .




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intended to condition people against their natural sexual orientation or gender

identity.” Such a method has been in disfavor for decades. In the 2009 American

Psychological Task Force’s report Appropriate Therapeutic Responses to Sexual

Orientation, the most recent study listed involving such a technique was published

in 1981—forty years ago. Such techniques are irrelevant to the present and are often

invoked as a bogeyman to discredit reasonable, patient-initiated, voluntary

therapeutic exploration of a person’s unwanted sense of sexual identity, attractions,

and behaviors.

      43.    Moreover, there is a vast difference between the intentional pursuit of

counseling (e.g., cognitive behavioral therapy) to deal with unwanted sexual

attractions and those persons who were subjected to such against their will. I will

attend to the latter; however, the former is commonly lumped in with the latter, a

move which is politically expedient for the pursuit of wholesale bans on any

counseling around feelings, impulses, etc., regardless of the age or wishes of the

client. Sociologist Paul Sullins is a co-author of a study of 125 men who were exposed

to SOCE. Rather than articulating a universal hostility to it, the authors found that

“[l]ess than 5% of participants reported experiencing negative changes,” an

observation that led the authors to conclude that “[o]verall, we found that a large

majority of these sexual minority men perceived their engagement in SOCE to

enhance their well-being” and that “[r]eports of positive change were stronger and

more widely distributed than those of negative change, most strongly for depression,

but   also   for   self-esteem,   social   functioning,   self-harm,   suicidality,   and




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alcohol/substance abuse.”21 The reasons why people pursue counseling and

psychotherapy matter.

      44.    On page 17, Dr. Meyer makes reference to SOCE as encompassing any

approach “intended to condition people against their natural sexual orientation or

gender identity.” On the same page, Dr. Meyer further maintains that “LGBT persons

need to learn to accept their LGBT identity in the coming out process,” implying a

sense of inevitability about who they are. Perhaps. But a “natural sexual orientation

or gender identity” is not, as Dr. Meyer’s assertion suggests, always rooted in birth

or from a child’s earliest memories, as the term implies and as Dr. Meyer appears to

presume.

      45.    For    example,    the    American     Academy        of   Pediatrics (AAP)

policy statement on the care and support for transgender and gender-diverse children

and adolescents holds that the self-recognition of gender identity “develops over time”

and yet “[f]or some people, gender identity can be fluid, shifting in different

contexts.”22 Indeed, Columbia University sociologist Tey Meadow reports in her

article on the production of legal gender classifications: “Many courts look to medical




      21  Sullins DP, Rosik CH and Santero P. Efficacy and risk of sexual orientation
change efforts: a retrospective analysis of 125 exposed men [version 2; peer review: 2
approved]                  F1000Research                 2021,                 10:222
https://doi.org/10.12688/f1000research.51209.2
       22 Rafferty, J. & Committee on Psychosocial Aspects of Child and Family

Health.(2018). Ensuring comprehensive care and support for transgender and
gender-diverse children and adolescents, 142 Pediatrics 4 e20182162; doi:
https://doi.org/10.1542/peds.2018-2162.


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definitions of sex…. yet there is no consensus about when gender change actually

happens.”23

      46.     Sexual orientation, meanwhile, appears both more discernible and more

stable for men than for women.24 Dr. J. Michael Bailey, a well-regarded psychologist

and behavioral geneticist best known for his work on the etiology of sexual

orientation, maintains women’s sexual orientation is much more sensitive to social

influence and more subject to personal decision-making.25 Others agree. University

of Utah psychologist Dr. Lisa Diamond has long claimed the same about women’s

sexual orientation, as has Dr. Jane Ward, a sociologist of sex, gender, and queer

politics at UC-Riverside, who captures the dilemma that survey self-report data pose

to the idea of immutability: “[I]f we all really believed that sexual orientation was

congenital—or present at birth—then no one would ever worry that social influences




      23   Meadow, T. (2010). “A rose is a rose”: On producing legal gender
classifications, Gender & society 24(6), 814–837, p. 824. https://doi.org/10.1177/
0891243210385918
       24 Roy F. Baumeister, “Gender Differences in Erotic Plasticity: The Female Sex

Drive as Socially Flexible and Responsive,” Psychological Bulletin 126 (2000): 347-
374; Lisa M. Diamond, Sexual Fluidity: Understanding Women’s Love and
Desire (Cambridge, MA: Harvard University Press, 2008); Lisa M. Diamond, “Was It
a Phase? Young Women’s Relinquishment of Lesbian/Bisexual Identities over a 5-
Year Period,” Journal of Personality and Social Psychology 84 (2003), 352–364; Lisa
Diamond, “Development of Sexual Orientation Among Adolescent and Young Adult
Women,” Developmental Psychology 34 (1998): 1085-1095; Illouz, Why Love Hurts;
Letitia Anne Peplau and Linda D. Garnets, “A New Paradigm for Understanding
Women’s Sexuality and Sexual Orientation,” Journal of Social Issues 56 (2000): 329-
350.
       25 J. Michael Bailey, “What is Sexual Orientation, and Do Women Have One?”

in Contemporary Perspectives on Lesbian, Gay, and Bisexual Identities, ed. Debra A.
Hope (New York: Springer, 2009), 43-64. The quote is from page 60.


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could have an effect on our sexual orientation. But I think that in reality, we all know

that sexual desire is deeply subject to social, cultural, and historical forces.”26

      47.      Rather, Dr. Meyer applies a framework of understanding male

homosexuality, in which a more robust pattern of stability is commonly discerned, to

reach blanket assertions about sexual orientation and gender identity, domains

which—if including women—tend to display far more instability than he lets on.

Hence, Dr. Meyer’s references to a “natural” sexual orientation or gender identity

imply a decidedly male “bias,” one that is decreasingly reflected in research

conclusions.

      48.      Dr. Meyer also discusses numerous studies that purport to document

the deleterious effects of social stigma on the psychological and physical health of

sexual minorities. One manuscript of his that he does not discuss, however, is a recent

publication based on the Williams Institute’s new, large, five-year survey data

collection effort aimed to understand differences between “generations” of LGBT

adults: those aged 18-25, 34-41, and 52-59, dubbed the “equality,” “visibility,” and

“pride” generations. In it, Dr. Meyer and his coauthors observe higher suicide

behavior among the youngest cohort of LGBT adults—those who have experienced

the least overt stigma and the greatest levels of social acceptance, and who witnessed

what many hold to be the signal social achievement, the advent of nationwide same-




      26  Jane Ward, “No One is Born Gay (or Straight): Here Are 5 Reasons Why,”
paragraph 12, Social (In)Queery [Online] March 18, 2013. Available:
http://socialinqueery.com/2013/03/18/no-one-is-born-gay-or-straight-here-are-5-
reasons-why. [January 29, 2014].


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sex civil marriage. And yet these developments have not yielded greater mental

health. Instead, the “equality” generation displays “no signs that the improved social

environment attenuated their exposure to minority stressors,” but rather displays

worse psychological distress and suicide behavior.27

      49.    Nor is there any merit to the claim that the relationship/sexual conduct

policies of CCCU-type institutions are increasing the risk of suicide among LGBTQ+

students. The 2021 Meyer et al. study based on the Generations data observes that

30 percent of all 18-25-year-old LGBT persons reported a suicide attempt in their

lifetime. Yet, remarkably, the share of 34-41-year-old and 52-59-year-old LGBT

Americans who reported a suicide attempt in their lifetime is lower (24 and 21

percent, respectively) than the youngest cohort, despite far more years to have done

so.

      50.    That the “equality” generation of LGBT Americans is in worse emotional

shape than the older pair of cohorts studied, despite the latter’s far longer experience

with social disapproval, signals obvious weakness in the minority stress theory’s fit,

for if in fact social stigma is a central cause of stress, there should be less stress for

this youngest generation, given lower social stigma. But instead of reckoning with

this, leaning on his own claims (page 7) that the “scientific method allows for testing

of theory-based hypotheses that can be nullified using statistical analyses and causal



      27  Meyer IH, Russell ST, Hammack PL, Frost DM, Wilson BDM (2021)
Minority stress, distress, and suicide attempts in three cohorts of sexual minority
adults:    A     U.S.   probability   sample.   PLoS    ONE     16(3):   e0246827.
https://doi.org/10.1371/journal.pone.0246827. The quotes here are from the study’s
abstract.


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inference,” Dr. Meyer (and his coauthors) double down. They assert in the face of the

evidence that in spite of the clear diminution of anti-LGBT stigma in the United

States—especially among young people—the results somehow “speak to the

endurance of cultural ideologies such as homophobia and heterosexism and

accompanying rejection of and violence toward sexual minorities.”

      51.    I am hardly the only social scientist who thinks the minority-stress

theory has obvious limitations. Michael Bailey, mentioned above, maintains that

minority stress theory is prematurely credited with explaining mental health

disparities. Bailey asserts that “[t]he minority stress model has relied exclusively on

self-report data to quantitate stigmatization” but that “[t]he accuracy of such self-

report data is plausibly influenced by individual temperament.”28 That is,

vulnerability to stress and stigma are not only experienced by minorities. Moreover,

resilience to the same is not out of the question, and may have to do with

temperament. In other words, minority stress theory tends to lack a clear sense of

agency on the part of persons.

      52.    Bailey continues, citing the possibility of “an alternative model

postulating a reversed direction of effect.” That is, the minority stress model is

criticized for not being able to distinguish causal directionality, or “whether prejudice

and discrimination lead to a greater likelihood of developing mental health problems,




      28  Bailey, J. Michael. (2020). The minority stress model deserves
reconsideration, not just extension. Archives of Sexual Behavior, 49(7), 2265-
2268. The quote is from p. 2266.


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or whether mental health problems lead to a greater likelihood of experiencing—or

perceiving—prejudice and discrimination.”29

      The concern about overreach on the part of minority stress theory and its

proponents has led to the expression of supplementary theories, including a “rejection

sensitivity model” for understanding sexual minority health.30 That is, an approach

that—among other things—considers the role of “perception” in stigma-related

experiences. This means that not all instances of self-reported stigma may be equally

valid (e.g., if it were subject to external observation). This may help explain, in part,

the Generations survey’s observation of statistically identical levels of self-reported

verbal insults or abuse “since age 18” as reported by 18-25-year-olds, 34-41-year-olds,

and 52-59-year-olds. If true, it would have to mean that stigmatizing behavior like

insults and verbal abuse have surged of late rather than receded, as most maintain—

and that the oldest LGBT cohort experienced far less stigma than believed.

Alternately, viewed through the lens of the rejection sensitivity model, perhaps LGBT

young adults perceive more stigmatizing and antagonistic behavior aimed in their

direction than is actually being exhibited. If this is true—and it is admittedly difficult

to discern—then Dr. Wolff’s remark (on page 18) about the American Psychological

Association’s appeal to the U.S. Department of Education “to investigate allegations




      29   The quote is from Zucker, K. J., Lawrence, A. A., & Kreukels, B. P. (2016).
Gender dysphoria in adults. Annual Review of Clinical Psychology, 12, 217–247, but
it also appears in Bailey, supra n.28.
        30 Feinstein, B. A., 2020, “The rejection sensitivity model as a framework for

understanding sexual minority mental health,” Archives of Sexual Behavior (2020)
49:2247–2258 https://doi.org/10.1007/s10508-019-1428-3.


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of harm” is an invitation to scrutinize far more events of less egregious nature (on

average) than were experienced by the oldest cohort of LGBT Americans.

      53.    One of the underdiscussed aspects of this case is the staggering lack of

self-efficacy and internalized locus of control that is simply presumed of LGBTQ

young adults. Instead, what is assumed is a crippling inability to respond to perceived

conditions around them and make decisions about their own lives. In sum, there is a

presumed lack of agency—not only in these three expert witness reports but

throughout much of the literature on LGBT health outcomes. It may well be real—

after all, it seems to characterize the Plaintiffs, who appear to reflect the “equality”

cohort in Meyer et al.’s 2021 study using his own Generations data. But the oldest

cohort in that study would not recognize this lack of agency. Many of them built

alternative institutions rather than do the more laborious work of “unraveling

heteronormativity” in more traditional institutions.

      54.    Moreover, in spite of the surge in support for LGBT Americans, evident

in Gallup historical polling,   31   Dr. Meyer’s study reports that the youngest LGBT

adults report higher rates of “everyday discrimination” and “internalized

homophobia,” and far higher levels of psychological distress than older LGBT adults,

even while they report higher “connection with the LGBT community” and no

difference in the level of “felt stigma.” This is the situation despite the fact that the

youngest cohort reported consistently (and statistically significantly) lower rates of




      31  Gallup,    LGBT       Rights,    https://news.gallup.com/poll/1651/gay-lesbian-
rights.aspx.


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physical and sexual assaults, robbery, and threats of violence than the oldest cohort

of LGBT adults. What does one make of this conundrum? This is not to blame them,

or to say that they, like so many of their age cohorts, are not suffering from distress.

But the actual source of this distress is what is in question, and these clear contrasts

must be considered if we are to understand and respond in ways that actually will

help. In contrast to the authors’ consistent appeal to the stable presence of

homophobia, heterosexism, rejection, and violence, one is prompted to wonder if

perhaps the youngest generation of LGBT adults—represented in this case by the

Plaintiffs—feels more poignantly forces of rejection, competition, and violence from

their own peers?32 This is empirically unclear—and seldom discussed—territory.

      55.    Alternately, the youngest cohort of LGBT adults exhibits greater

sensitivity to (or memory of) perceived slights, quicker presumptions of prejudice, and

lower threshold for interpreting others’ behavior toward them as insulting or abusive

than do older cohorts of LGBT adults. It is impossible to say, from the study’s data as

presented, but when the youngest cohort (which is between age 18 and 25) reports

statistically identical rates of lifetime verbal insults or abuse since age 18 as do their

older LGBT counterparts, it suggests there may be something to the “rejection

sensitivity” model noted above.

      56.    Other revelations from the Generations study highlight possible reasons

for the greater psychological challenges among the youngest LGBT cohort. In




32Hobbes, M., Together Alone (2017). https://highline.huffingtonpost.com/
articles/en/gay-loneliness/.


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particular, the youngest report first sex with a same-sex partner at just over age 16,

two years younger than those now 34-41 and three years younger than those now age

52-59. Lower average age at first sexual experience is consonant with more poignant

challenges.33

      57.       What relevance does the unmentioned study of Dr. Meyer’s have for the

present case? Plenty. It suggests that previous eras of LGBT students at Christian

colleges and universities were apt to have understood the unique rules (about sexual

relationships, etc.) as the norm, and either abided by them, surreptitiously thwarted

them, or simply elected to avoid the institution in the first place—selecting a

university that seemed less concerned with such rules. The Plaintiffs in this case, on

the other hand, represent the “Equality” cohort in the Generations study by being

quicker to perceive discrimination, sense injustice, feel stigmatized, and suffer

psychological distress—all despite the fact that even most of the colleges and

universities they attend have more informal support, produce more likeminded

friendships, and boast a student body that is more tolerant than previous eras. Their

expectations of equality in how Christian theological traditions understand sexuality,

the meaning and purpose and validity of sexual relationships—in sum, the morality

of nonmarital relationships and the boundaries of marriage—are simply far different

than previous eras of LGBT students. Their grievance is portrayed as with the



33Osorio, A., Lopez-del Burgo, C., Carlos, S., & de Irala, J. (2017). The sooner, the
worse? Association between earlier age of sexual initiation and worse adolescent
health and well-being outcomes. Frontiers in psychology, 8, 1298.




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institution—their own college or university—and yet at bottom the difference is with

the Christian theological tradition that animates these institutions.

      58.    That appears to be Dr. Meyer’s approach. For example, on page 12 of his

report, Dr. Meyer cites and discusses the Williams Institute’s report entitled

“Religiosity among LGBT Adults in the US,” which estimates that just over 3 million

LGBT adults are moderately religious and an additional 2.2 million are highly

religious.34 From there, Dr. Meyer speculates that LGBT adults who (choose to)

“belong to non-affirming denominations are particularly vulnerable to stigma and

stress[.]” Yet from Dr. Hoogstra’s declaration, we know that this group—LGB

students who know about a given school’s policy on sexuality at the time of

matriculation—makes up around 90 percent of all LGB students. Hoogstra Decl. ¶¶

20–21. Once there, many silently disagree with them (40%). But many others chose

those schools precisely because of their sex-related policies (31.3%). Ibid. For these

students, the goal of religious higher education seems in part to find a way to reconcile

their faith with their sexual orientation or gender identity. Id. ¶ 22. And CCCU-type

institutions provide communities in which they can do so.

      59.    Since the vast majority, if not all, of students at Christian colleges and

universities are not forced to be enrolled there, this case raises the question about

why students who report feelings of distress, irritation, or anger at their




      34 Conron, K. J., Goldberg, S. K., & O’Neill, K. (2020). Religiosity among LGBT
adults in the US. Los Angeles, CA: The Williams Institute at UCLA School of Law.
https://williamsinstitute.law.ucla.edu/wp-content/uploads/LGBT-Religiosity-Oct-
2020.pdf


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administration’s policies do not simply respond by transferring to another university.

There are an extraordinary number of them, after all. Indeed, several examples from

the Amended Complaint would prompt many readers to wonder why such a student

was interested in a Christian higher education at all. But they were, and plenty

appear to remain so.

V.     DR. JOSHUA WOLFF’S REPORT

      60.    Dr. Wolff studies what he identifies (on page 4 of his report) as “the

intersections of religion, spirituality, and campus climate on the lives of LGBTQ+

students who attend” colleges similar to those represented by the CCCU.

      61.    In his expert witness report, Dr. Wolff lists the various ways in which

LGBTQ+ students at such colleges and universities “may” or “can” experience what

he describes as “unique” challenges, including: verbal and sexual harassment,

threats, assaults, jokes, slurs, instances of incivility and social rejection, insufficient

support, etc. What the reader is treated to, however, is little sense of just how much

more these things actually are (rather than “may” be) experienced at CCCU-type

schools than elsewhere. As with the REAP survey, there is no sense of “just how much

worse” life is for LGBTQ+ persons at Christian colleges than elsewhere. The reality,

as I have shown above using multiple sources of empirical data above, is striking—it

is no worse, and very likely better.

      62.    Instead, Dr. Wolff treats the reader to a litany of non-specific, non-

comparative claims at multiple points in his report that lack a sense of effect size by

repeatedly using phrases like “are associated with,” “more likely to,” “significantly




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higher,” “higher rates,” etc. Such terms signal non-specific effect sizes along with

implied causal directionality—without actual numbers, rates, effect sizes, etc. This is

particularly evident on page 11, where he could have stated percentages of the 213

sexual minority students who reported elevated clinical symptoms of depression,

anxiety, eating concerns, substance use, etc., but does not. He does, however,

articulate the percentage (37%) that have experienced bullying or harassment (on

page 12). These, he maintains, “were more likely to report symptoms of depression.”

How much more likely?

      63.    Dr. Wolff notes a study of his that “found that LGB youth living in

counties that had higher concentrations of non-affirming faith communities had

increased rates of alcohol abuse and more sexual partners[.]” This, of course, has

nothing inherently to do with the religiousness of LGB youth or their peers or

neighbors, much less how such youth—especially those who believe in Christian

sexual ethics—would fare in CCCU-type schools.35

      64.    In describing the experiences of participants in his 2017 study, Dr. Wolff

further notes that participants “shared a common experience of sadness and remorse

over lost opportunities to fully explore and be known authentically as they looked

back at past experiences” at their respective Christian colleges. This is not unique to




      35  County-level data, moreover, is a primary sampling unit whose efficacy is
difficult to defend, in comparison to census tracts or blocks. After all, counties range
in population from the millions (e.g., Cook County, Los Angeles County, Harris
County) to the very few.


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LGBTQ+ students. Many of us look back at our college days with some regrets about

friendships that went unformed or underdeveloped, opportunities missed, etc.

      65.    Moreover, there is little information provided here about the sample of

Dr. Wolff’s interviewees—how they came to be in the study, and if—like in the REAP

survey—there is a comparison group of non-LGBT students interviewed. In my

experience and observation, and as explained by Dr. Hoogstra, LGBT students at

CCCU-type schools are generally comprised of those who support the school’s mission

and live at peace with their school’s sexuality and relationship policies—and then

there are those like the Plaintiffs to this case, who do not. Whether Dr. Wolff’s

interviewees comprise the former as well as the latter is unclear, at least from his

report.

      66.    Instead, in a remark about mandatory referrals to campus counseling

centers for violating policies about gender norms and expressions, he asserts that

“some students reported” that such centers “may have the goal of changing sexual

orientation and/or gender identity to comply with religious norms.” I commend him

for his honesty in expressing what the students reported. However, the statement

suggests that the unclear number of students who reported this did not actually know

that this was a goal of the counseling center. Moreover, the REAP survey (page 24,

Section V on University Sanctions) suggests this is rarely the case.

      67.    Dr. Wolff concludes aptly, on page 13, that “the relationship between

campus policies and mental health is probably complex and weird.” Indeed,

surprisingly little evidence has been brought forward in this case to suggest that




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campus sexuality policies—the very thing the Plaintiffs are contesting in the

complaint—are demonstrably associated with poor LGBT student outcomes.

      68.    Finally, LGBT students enrolled at the kind of evangelical college widely

represented in the CCCU display, in Dr. Wolff’s own published work, “significantly

fewer symptoms of depression and social anxiety” than students at Catholic and

Mainline Protestant colleges and universities, which are on average far more

progressive regarding behavioral policies and norms, and certainly more likely to

have GSAs.36 Dr. Wolff seems puzzled by this result, and yet acknowledges that

“religion may offer a substantial amount of comfort and source of community to many

SM (sexual minority) students who find incongruence with their sexual orientation

and their faith,” with a reference to Mark Yarhouse’s work.37 I could not have said it

better.

VI.   DR. JONATHAN COLEY’S REPORT

      69.    Dr. Coley poses an obvious (and good) question in his expert witness

report, namely why LGBTQ students wish to attend Christian colleges and

universities in the first place. His interview-based study of LGBTQ students at four

institutions reveals an interesting selection, since three of the four schools are not

known for having demanding sexuality and relationship behavior policies.




      36  Wolff, J. R., Himes, H. L., Soares, S. D., Kwon, E. M., “Sexual minority
students in non-affirming religious higher education: Mental health, outness, and
identity,” Psychology of Sexual Orientation and Gender Diversity 3 (2016), 201-212.
The quote is from 207.
       37 Ibid., page 208.



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      70.    Another project of Dr. Coley’s is the construction of an ambitious

database of university policies on LGBTQ matters, in particular student handbook

“bans on ‘homosexual acts’ or ‘homosexual behavior’” which Dr. Coley notes—but does

not detail—“often carried the same penalties as bans on ‘rape’ or ‘incest’” (page 5).

And yet to repeat what we’ve learned from the REAP survey—almost no students (six

out of every 1,000) reported running afoul of their school’s sexual code of conduct to

the point where the violation merited disciplinary action. Thus, it is difficult to see

how these codes could have any real, systematic negative impact on students’

emotional health.

      71.    Further, on page 7 of his report, Dr. Coley estimates the size of the

population of LGBTQ students that are “impacted” by their Christian university’s

discriminatory policies. He surmises that “[I]f a similar percentage of students at

CCCU institutions identify as LGBTQ, there are likely over 70,000 LGBTQ students

at CCCU institutions alone. Alternately, the more liberal estimate of 30% of students

who report same-sex attractions or past same-sex sexual behavior would yield

133,500 LGBTQ students in CCCU schools. All of this is speculative, but

unproblematic. However, Dr. Coley presumes a random process by which LGBTQ

young adults decide where to go to college, one in which no self-selectivity is involved.

This is ironic, since most young adults seem to display all manner of self-selection

processes regarding higher education, weighing cost, prestige, availability of desired

major, family influences, peer influences, etc. I mention this only because the fact

that self-selectivity is not imagined here by Dr. Coley reveals something that




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animates many research conclusions about the lives of LGBT young adults—that is,

a presumptive lack of self-efficacy.

       72.    In reality, it makes sense to admit that most LGBTQ students enrolled

at CCCU-type schools are there because they wanted to be. Students think hard about

where to go to college, and tend to weigh the costs and benefits of their options. Rather

than conclude out of hand that the average LGBTQ Christian enrolled at a CCCU-

type school thinks quite similarly to the Plaintiffs in this case, it is likely to be more

accurate that such students are more likely than the Plaintiffs to wish to follow the

Christian ideal of chastity in relationships—whether successful or not. To hold that

sexual relationships traditionally viewed in Christianity as illicit are not in fact

wrong (i.e., sinful, etc.) is simply to attempt to rewrite the theological history of those

Christian denominations that gave rise to organizations like those represented in the

CCCU. For Christians of all stripes, Christianity often requires a “costly obedience,”38

and conservative, religious students tend to both need and want encouragement and

support to live out the tenets of their faith.

       73.    Finally, Dr. Coley advocates for the formation of LGBTQ student groups

as well as institutional centers, and criticizes those colleges and universities he

studied which do not permit such centers or formal group recognition. While there

are many laudable reasons for hosting or joining such a group, one obvious reason

why CCCU-type schools are reticent to officially recognize such groups is for a pair of




       38Yarhouse, M., Zaporozhets, O. (2019). Costly Obedience: What we can learn
from the celibate gay Christian community. Zondervan.


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the reasons for which Dr. Coley states such groups to exist—that is to foster “romantic

relationships” and “opportunities for activism.” These are two principles which such

universities may well perceive as being contrary to their relationship policies, and

violations of which they reasonably believe would themselves prompt stress and other

negative outcomes in their students.

VII.   CONCLUDING OBSERVATIONS

       74.   The battle over civil same-sex marriage lasted for decades in the United

States. But it did not yield the power to coerce Christian churches into conducting

same-sex marriages. This is akin to what the Plaintiffs seek to accomplish—but by

judicial fiat. That is, they wish to force Christian colleges and universities—many of

which sport hundreds of thousands of alumni who wished to attend and worked hard

to graduate from them—to undo their relationship policies, which are expressions of

their theological and religious beliefs and commitments, or face possible closure due

to the inability of students to merit Stafford loans or Pell grants, a situation that

would (in reality) force many students to look elsewhere for their degree.

       75.   Forcing a university to choose between their theology and financial

survival—their deeply-rooted policies on human sexuality or their (ubiquitous)

dependence on federal student loan dollars—is a false choice. The only winners if

such schools are forced to choose would be those universities—and those parents and

students—with the deepest pockets. A victory for the students here would not yield

justice, no matter what the outcome, because schools that elect to decline federal

funding would either close or lay off scores of employees, and reduce course offerings.




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What student desires that? Alternately, if the school elects to drop its sexuality and

relationship policies in order to stay financially afloat, that decision would inject a

significant secularizing effect and altering the Christian character of the school. The

Plaintiffs’ peers would no longer be attending the kind of institution they sought prior

to this suit. The third way, of course, is the most prudent one, and it’s all about a self-

selective imperative: respect the diverse nature of American higher educational

options, and thereby allow students to choose the kind of school that fits their own

values.

      76.    Finally, there is a monumental media-stimulated psychological crisis

occurring among youth in general, LGBT and otherwise, that has yielded elevated

suicidality rates and poorer mental health among adolescents and young adults. To

suggest that Christian colleges and universities are uniquely at fault for a small

portion of this massive trend is not simply to miss the primary sources of

psychological threats today. It’s to reverse course and to place blame on institutions

in which students are—on average—more apt to thrive. It is scapegoating.

      77.    I have reached my conclusions to a reasonable degree of certainty using

the same information and studies relied on by other experts in my field. I make the

foregoing statements based on my knowledge, information, belief, and experience,

under penalty of perjury.



November 2, 2021

                                                 Mark Regnerus




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                               CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing document was served on all counsel of record

in this case by ECF and by email.

       DATED this 2nd day of November, 2021.

                                                   /s/ Gene C. Schaerr
                                                   Gene C. Schaerr
                                                   Counsel for Defendant-Intervenor CCCU




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                           EXHIBIT A




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                                                      (November 2021)

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EDUCATION

Ph.D., Sociology, University of North Carolina at Chapel Hill, 2000.
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PROFESSIONAL APPOINTMENTS

2018–Present: Professor, Department of Sociology, The University of Texas at Austin.

2007–2018: Associate Professor, Department of Sociology, The University of Texas at Austin.
        2002–2014: Faculty Research Associate, Population Research Center, The University of Texas at
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2002–2007: Assistant Professor, Department of Sociology, The University of Texas at Austin.

2001–2002: Assistant Professor of Sociology, Department of Sociology and Social Work, and Director,
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2000–2001: Postdoctoral Research Associate, Carolina Population Center.

PUBLICATIONS
Books

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      pages)
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Principal Investigator, “The Relationships in America Survey Project.” $328,426 grant from the Austin
       Institute, January 2014-September 2014. (Approved, 100% under PI’s supervision)

Principal Investigator, “The New Family Structures Study.” $640,000 grant from the Witherspoon Institute,
       May 2011-August 2013. (Approved, 100% under PI’s supervision)

Principal Investigator, “The New Family Structures Study (supplementary assistance).” $90,000 grant from
       the Bradley Foundation, Nov 2011-Nov 2012. (Approved, 100% under PI’s supervision)

Principal Investigator, “The New Family Structures Study.” $55,000 planning grant from the Witherspoon
       Institute, Oct 2010-June 2011. (Approved, 100% under PI’s supervision)

Principal Investigator, “The New Pentecostals and Political and Social Activism.” $9,565 grant from the
       National Science Foundation (Dissertation Improvement Grant, for Nicolette Manglos), 2010-2011.
       (Approved but returned)

Co-Investigator, “Developing Health Behaviors in Middle Adolescence” (Lynn Rew, PI, The University of
      Texas at Austin School of Nursing). $1,276,919 grant from the National Institute of Nursing
      Research, 2006-2011. (Approved, <5% under Regnerus’ supervision). R01-NR009856.

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       West to Sub-Saharan Africa.” $7,500 grant from the National Science Foundation (Dissertation
       Improvement Grant, for Nicole Angotti), 2008-2009. (Approved)

Co-Investigator, “Religious Organizations, Local Norms, and HIV in Africa” (Susan Watkins, PI,
      University of Pennsylvania). $864,000 grant from the National Institute of Child Health and Human
      Development, June 2005-May 2008. (Regnerus is PI of $279,000 sub-contract to The University of
      Texas at Austin). R01-HD050142-01.

Seed grant for “Sex and Emotional Health in Emerging Adulthood.” $4,000 grant from the Population
       Research Center and $2,000 grant from the College of Liberal Arts, The University of Texas at
       Austin, 2007.

SELECT INVITED PRESENTATIONS

“The Future of Christian Marriage.”



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           •   University of Mary, Bismarck, ND, April 2021
           •   Faulkner University, Montgomery, AL, March 2021

“The Transformation of Men, Marriage, and Monogamy.” Universidad Francisco de Vitoria, Madrid,
      November 2018.

Author meets critics panel on Cheap Sex: The Transformation of Men, Marriage, and Monogamy. Society
       for the Scientific Study of Religion, Las Vegas, NV, October 2018.

“The Transformation of Men, Marriage, and Monogamy.” Archdiocese of Denver, September 2018.

Author meets critics panel on Virgin Nation: Sexual Purity and American Adolescence (by Sara Moslener,
       Oxford University Press, 2016). American Academy of Religion, San Antonio, TX, November
       2016.

“Intergenerational Transmission of Marriage and Relationship Legacy.” Home Renaissance Foundation,
       London, United Kingdom, November 2015.

“The Future of Marriage and Family in America.” University of St. Thomas, Houston, TX, March 2015.

“The New Family Structures Study and the Challenges of Social Science.” Brigham Young University,
      Provo, UT, October 2014.

“Sex in America: Sociological Trends in American Sexuality.” Ethics and Religious Liberty Commission,
       Nashville, TN, April 2014.

“Premarital Sex in America.” Department of Sociology, University of North Carolina at Chapel Hill,
      Chapel Hill, NC, January 2012.

Book discussion session on Premarital Sex in America. Society for the Study of Emerging Adulthood,
      Providence, RI, October 2011.
“The Future of Sex and Marriage in American Evangelicalism.” National Association of Evangelicals
      Advisory Board, Washington, D.C., October 2011.
Heyer Lecture. Austin Presbyterian Theological Seminary, Austin, TX, September 2011.
Thematic session on “The Cultural War and Red/Blue Divide: Re-examining the Debate Demographically
      and Behaviorally.” American Sociological Association, Las Vegas, NV, August 2011.
“Sexual Economics: The Forces Shaping How Young Americans Meet, Mate, and Marry.” Heritage
      Foundation, Washington, D.C., May 2011.
“Marital Realities, Current Mindsets, and Possible Futures.” Institute of Marriage and Family Canada,
       Ottawa, Canada, May 2011.
Panel on “Teen Pregnancy: What Is California Doing Right?” Zócalo Public Square, Los Angeles, CA,
       December 2010.
“Marriage and Parenthood in the Imagination of Young Adults.” Baby Makes Three: Social Scientific
       Research on Successfully Combining Marriage and Parenthood (seminar), Princeton, NJ, June
       2010.


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“Saving Marriage Before It Starts.” Q Conference, Lyric Opera, Chicago, IL, April 2010.
“The Price of Sex in Contemporary Heterosexual Relationships.” TEDxUT, The University of Texas at
       Austin, Austin, TX, April 2010.
“Love and Marriage in the Minds of Emerging Adults.” Child Trends and Heritage Foundation,
       Washington, D.C., October 2009.
“Forbidden Fruit? Sex and Religious Faith in the Lives of Young Americans.” Baylor University,
       Waco, TX, September 2007.
“Great Expectations: Culture, Emotion, and Disenchantment in the Sexual Worlds of Young Americans.”
       Bay Area Colloquium on Population, Berkeley, CA, September 2007.

CONFERENCE PRESENTATIONS
“The Math Behind Declining Christian Marriage,” Society for the Scientific Study of Religion, Las Vegas,
      NV, October 2018.

“Consent and the Presumption of the Exchange Theory of Relationship Behavior.” Paper presented at the
      annual meeting of the American Political Science Association, Boston, MA, September 2018.

“Is There a Recession in Marriage among Western Christians?” Paper presented at the annual meeting of
       the Society for the Scientific Study of Religion, Atlanta, GA, October 2016.

“Gender and Heterosexual Sex.” Panel discussion at the annual meeting of the American Sociological
      Association, New York, NY, August 2013.

“The New Family Structures Study: Introduction and Initial Results.” Paper presented at the annual
      meeting of the Population Association of America, San Francisco, CA, May 2012.

“Religious Distinctions in Nonmarital Romantic Relationship Formation” (with Ellyn Arevalo). Paper
       presented at the annual meeting of the Society for the Scientific Study of Religion, Milwaukee, WI,
       October 2011.

“Premarital Sexual Initiation and Fertility among Pentecostal Adolescents in Brazil.” Paper presented at the
      annual meeting of the Population Association of America, Washington, D.C., April 2011.

“Red Sex, Blue Sex: Distinguishing Political Culture and Religious Culture in the Sexual Decisions of
      Young Americans.” Paper presented at the annual meeting of the Society for the Scientific Study of
      Religion, Denver, CO, October 2009.

“Bare Market: Campus Sex Ratios and Romantic Relationships” (with Jeremy Uecker). Paper presented at
      the annual meeting of the Population Association of America, Detroit, MI, May 2009.

“Religion and Sexual Initiation in Brazil” (with Ana Paula Verona). Paper presented at the annual meeting
       of the Population Association of America, Detroit, MI, April 2009.

ADVISING

Ph.D. Committees in the Department of Sociology (Year Degree Awarded, * Co-Chair/Co-Supervisor,
** Chair/Supervisor)

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       2016   Jennifer McMorris
       2015   Stanley Kasun
       2015   Nina Palmo
       2012   Nicolette Manglos **
       2012   Catherine McNamee
       2011   Charles Stokes
       2010   Nicole Angotti **
       2010   Georgina Martínez Canizales
       2010   Viviana Salinas
       2010   Jeremy Uecker **
       2010   Ana Paula Verona
       2008   Margaret Vaaler
       2008   Sara Yeatman
       2007   Amy Burdette *
       2007   Bryan Shepherd
       2007   Jenny Trinitapoli **
       2007   Elisa Zhai

M.A. Committees in the Department of Sociology (Year Degree Awarded, * Co-Chair/Co-Supervisor,
** Chair/Supervisor)

       2013   Ellyn Arevalo *
       2012   Kristen Redford **
       2011   David McClendon **
       2010   Aida Ramos Wada
       2008   Nicolette Manglos **
       2007   Andrea Henderson
       2006   Jeremy Uecker **
Undergraduate Thesis Supervision for Honors, Plan II, BDP (Year Degree Awarded, * Reader, **
Supervisor)

       2019   Clarisa Trevino **
       2014   Tiffany Fong *
       2011   Mary Lingwall **
       2008   Hong Nguyen **

Ph.D. Committees at other universities (Year Degree Awarded)

       2018   Yana Mikhaylova, Higher School of Economics, Moscow

DEPARTMENTAL AND UNIVERSITY SERVICE
Member, Executive Committee, Department of Sociology, 2012-2014

Member, Graduate Admissions Committee, Department of Sociology, 2012-2014

Member, Promotion and Tenure Committee, Department of Sociology, 2012-2014


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Member, Undergraduate Research Award Selection Committee, College of Liberal Arts, 2010-2012

Guest presenter, Peer Educator Sexual Health courses, University Health Services, 2008-2012

Presenter, Orange Jackets’ Week of Women, Tejas Club, Spring 2011

Moderator, Thesis Symposium, Plan II Honors Program, 2011

Member, Graduate Steering Committee, Department of Sociology, 2010-2011

Member, Promotion and Tenure Committee, Department of Sociology, 2010-2011

Member, Executive Committee, Department of Sociology, 2009-2011

Presenter, TEDxUT, The University of Texas at Austin, Spring 2010

Member, Governing Board, Population Research Center, 2009-2010

Member, Graduate Admissions Committee, Department of Sociology, 2009-2010

Presenter, Sexual Health Panel, Tejas Club, Fall 2009

Member, Graduate Steering Committee, Department of Sociology, 2007-2009

Participant and presenter, Faculty Fellows Program, The University of Texas at Austin, 2007-2009

Chair, Religion Faculty Search Committee, Department of Sociology, Fall 2008

Member, Population Junior Faculty Search Committee, Department of Sociology, Fall 2007

Member, Speaker Colloquium Committee, Department of Sociology, Fall 2007

PROFESSIONAL SERVICE AND ORGANIZATIONAL MEMBERSHIP
Co-organizer and session chair, The Moynihan Report at 50: Reflections, Realities, and Prospects.
      Princeton University, Princeton, NJ, October 30-31, 2015

Distinguished Article Award Committee member, American Sociological Association (Religion Section),
       2010-2011
  •   Committee chair, 2011

Editorial Board member, Interdisciplinary Journal of Research on Religion, 2005–2011

Editorial Board member, Journal for the Scientific Study of Religion, 2004–2011

Distinguished Article Award Committee member, Society for the Scientific Study of Religion, 2009-2010
  •   Committee chair, 2010



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Nominating Committee member, Society for the Scientific Study of Religion, 2007-2009

Jack Shand Research Award Committee member, Society for the Scientific Study of Religion, 2005-2007

Council member, American Sociological Association (Religion Section), 2004-2007


Member of:
American Academy of Religion, 2017-2019
Population Association of America, 2004-2018
Society for the Scientific Study of Religion, 1996-present

Ad-hoc reviewer for:
American Journal of Sociology, American Sociological Review, Archives of Sexual Behavior,
Biodemography and Social Biology, Gender & Society, Interdisciplinary Journal of Research on Religion,
International Journal of Environmental Research and Public Health, Journal for the Scientific Study of
Religion, Journal of Adolescent Health, Journal of Behavioral Addictions, Journal of Family Issues,
Journal of Health and Social Behavior, Journal of Homosexuality, Journal of Marriage and Family,
Journal of Psychology and Christianity, Pediatrics, Perspectives on Psychological Science, Review of
Religious Research, Social Forces, Social Problems, Social Psychology Quarterly, Social Science &
Medicine, Social Science Quarterly, Social Science Research, Sociological Forum, Sociological Inquiry,
The Sociological Quarterly, National Institutes of Health (2007), National Science Foundation (2010, one
review), Templeton Foundation (2012, 2019)




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